                                       Case 3:20-cv-08103-WHA Document 423 Filed 09/22/22 Page 1 of 1




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                                   6                               UNITED STATES DISTRICT COURT

                                   7
                                                                  NORTHERN DISTRICT OF CALIFORNIA
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                                  10   MASTEROBJECTS, INC.,
                                  11                 Plaintiff,                           No. C 20-08103 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   AMAZON.COM, INC,                                   JUDGMENT
                                  14                 Defendant.

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                                  17        For the reasons stated in the accompanying order granting summary judgment of

                                  18   noninfringement (Dkt. No. 415; see also Dkt. No. 422), final judgment is hereby entered in

                                  19   favor of Amazon.com, Inc. and against MasterObjects, Inc. The Clerk shall close the file.

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                                  21        IT IS SO ORDERED.

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                                  23   Dated: September 22, 2022.

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                                                                                            WILLIAM ALSUP
                                  26                                                        UNITED STATES DISTRICT JUDGE
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